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FORFEITURE ADDENDUM
United States v. Jon Renee Peart,19CRO585-AJB

Defendant's conviction will include forfeiture.. This forfeiture
addendum is incorporated into and part of Defendant's plea agreement,
and the additional terms and warnings below apply. |

A. Penalty. In addition to the penalties.in the plea agreement,
federal law states Defendant must forfeit to the United States, pursuant
to Title 18, United States Code, Section 924(d), and Title 28, United
States Code, Section 246l{c), all firearms and ammunition involved in
the commission of the offense.

B. Property Subject to Forfeiture. As part of Defendant's guilty

plea to Count 1 of the Information, as set forth in section I of the

plea agreement, Defendant agrees to forfeit all property seized in’

connection with this case, including but not. limited to:
(1) .45 caliber Ruger model P90 handgun; and
(2) rounds of .45 ammunition.

Cc. Basis of Forfeiture. Defendant owns all the property in
paragraph B and admits such property represents firearms and ammunition
involved in the commission of the offense and is subject to forfeiture
to the United States pursuant to Title 18, United States Code, Section
924(d), and Title 28, United States Code, Section 2461(c}.

D. Immediate Entry of Preliminary Order of Forfeiture. Defendant
consents and agrees to the immediate entry of a preliminary order of
forfeiture upon entry of the guilty plea. Defendant agrees that upon
entry of the preliminary order of forfeiture, such order shall be final
as to Defendant’s interests in the properties. Defendant agrees to

immediately withdraw any claims in pending administrative or civil

Def. Initials

Forfeiture Addendum 19CRO582—AJB

 
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forfeiture proceedings to properties seized in connection with this
case that are directly or indirectly related to the criminal conduct.
Defendant agrees to execute all documents requested by the Government
to facilitate or complete the forfeiture process. Defendant further
agrees not to contest, or to assist any other person or entity in
contesting, the forfeiture of property seized in connection with this
case. Contesting or assisting others in contesting the forfeiture shall
constitute a material breach of the plea agreement, relieving the
Government of all its obligations under the agreement including but not
limited to its agreement to recommend an adjustment for Acceptance of
Responsibility.

E. Entry of Orders of Forfeiture and Waiver of Notice. Defendant
consents and agrees to the entry of orders of forfeiture. for such
property and waives the requirements of Federal Rules of Criminal
Procedure 32.2 and 43(a) regarding notice of the forfeiture in the
charging instrument, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment. Defendant understands
that the forfeiture of assets is part of the sentence that may be
imposed in this case and waives any failure by the Court to advise
defendant of this, pursuant to Rule 11(b) (1) (J), at the time the Court
accepts the guilty plea(s).

F. Waiver of Constitutional and Statutory Challenges. Defendant
further agrees to waive all constitutional and statutory challenges
(including direct appeal, habeas corpus, or any other means) to any
forfeiture carried out in accordance with this agreement, including any
claim that the forfeiture constitutes an excessive fine or punishment

under the United States Constitution. Defendant agrees to take all steps

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as requested by the United States to pass clear title to forfeitable
assets to the United States and to testify truthfully in any judicial
forfeiture proceeding.

G. Agreement Survives Defendant; No Forfeiture Abatement.
Defendant agrees that the forfeiture provisions of this plea agreement
are intended to, and will, survive defendant, notwithstanding the
abatement of any underlying criminal conviction after the execution of
this agreement. The forfeitability of any particular property pursuant
to this agreement shall be determined as if defendant had survived, and
that determination shall be binding upon defendant’s heirs, successors
and assigns until the agreed forfeiture, including any agreed money

judgment amount, is collected in full.

ROBERT S. BREWER, JR.
United States Attorney

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DATED ——
. Assistant Ua attorney
AT Keele CA hrsee
DATED / FRANK T. MOREL
Defense Couns

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DATED ? . JON RENEE PEART
Defendant

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